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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ROY OWENS AND MARY HELEN) Case No.
OWENS,                      )
                            ) COMPLAINT
Plaintiffs,                 ) Jury Trial Demanded
                            )
       vs.                  )
                            )
JAYCO,      INC. AND LIPPERT)
COMPONENTS, INC.,           )
                            )
Defendants.                 )

                                 NATURE OF ACTION

       1.       Plaintiffs Roy Owens (“Mr. Owens”) and Mary Helen Owens (“Ms. Owens”)

(collectively, “Plaintiffs”) bring this action against Defendant Jayco, Inc. (“Jayco”) and

Lippert Components, Inc. (“Lippert”) under the Magnuson-Moss Warranty Act, 15 U.S.C.

§ 2301 et seq., and state law.

                             JURISDICTION AND VENUE

       2.       This Court has jurisdiction pursuant to 28 U.S.C. § 1331 and 15 U.S.C. §

2310(d) as the amount in controversy in this action exceeds fifty thousand dollars

($50,000.00).

       3.       The Amount in Controversy in this matter exceeds $50,000 because the

purchase price of the recreational vehicle at issue is $103,029.02. Moreover, all collateral

charges incurred in Plaintiffs’ acquisition and possession of the recreational vehicle,

diminished value of the recreational vehicle, and incidental and consequential damages,

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including but not limited to cover, loss of use, aggravation and inconvenience, are

themselves averred to exceed fifty thousand dollars.

        4.      Supplemental jurisdiction also exists pursuant to 28 U.S.C. § 1367(a).

        5.      Venue is proper before this Court, where the acts and transactions giving rise

to Plaintiffs’ action occurred in this district, and where Defendants transact business in this

district.

                                           PARTIES

        6.      Plaintiffs are natural persons who purchased a consumer product primarily

for personal purposes.

        7.      Plaintiffs are “consumers” as defined by 15 U.S.C. § 2301(3).

        8.      Jayco is a corporation authorized to do and doing business in the State of

Pennsylvania and is engaged in the manufacture, assembly, integration, sale, supply and

distribution of recreational vehicles and related equipment and services.

        9.      Jayco supplies its products under its own brand name and provides services

to the public at large through a system of authorized sales and repair/service centers.

        10.     Jayco is a “warrantor” as defined by 15 U.S.C. § 2301(5).

        11.     Lippert is a corporation authorized to do and doing business in the State of

Pennsylvania and is engaged in the manufacture and assembly of slideout systems which

Jayco uses in its recreational vehicles.




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         12.   Lippert supplies its products under its own brand name and provides services

to the public at large through a system of RV manufacturers like Jayco.

         13.   Lippert is a “warrantor” as defined by 15 U.S.C. § 2301(5).

                               FACTUAL ALLEGATIONS

                               A.     THE TRANSACTION

         14.   On or about April 4, 2018, Plaintiffs purchased a 2017 Jayco Precept 35S

VIN 1F66F5DY8GOA15509 (the “RV”) from Fretz Enterprises, Inc. (“Fretz”) in

Souderton, Pennsylvania.

         15.   The RV was purchased primarily for Plaintiffs’ personal use.

         16.   The RV is a “consumer product” as defined by 15 U.S.C. § 2301(1)

         17.   The sales contract was presented to Plaintiffs at Fretz and executed at the

Fretz.

         18.   At all times during the transaction, Fretz’s personnel held themselves out to

be acting on behalf of Jayco, as well as Fretz.

         19.   The sales price of the RV was $103,029.02, excluding finance charges.

         20.   Plaintiffs received a trade-in allowance of $14,600.

         21.   In connection with the financing of the RV, PlaintiffS executed a retail

installment sales contract with Fretz, which was later assigned to Bank of America.

         22.   A true and correct copy of the retail installment sales contract is attached to

this complaint as Exhibit A.


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                            B.      ACTIONABLE CONDUCT

       23.    Since Plaintiffs took possession of the RV, they have experienced various

defects and non-conformities in the RV that diminish its value and/or substantially impair

its use and value to Plaintiffs.

       24.    When Plaintiffs purchased the RV on April 4, 2018, Fretz advised Plaintiffs

that because the RV was a “leftover” unit and had been on their lot for quite some time,

Fretz needed a week to clean and prepare the unit for delivery.

       25.    Plaintiffs agreed to pick up the RV on April 11, 2018 at 11am.

       26.    On April 11, 2018, when Plaintiffs went to pick up the RV, they discovered

that the RV was not ready for delivery as Fretz was in the process of replacing the bedroom

TV because it did not work.

       27.    Plaintiffs also discovered that the pedestal table between the driver and

passenger seats was missing.

       28.    Fretz could not explain why the table was no longer there and merely

provided Plaintiffs with a replacement pedestal table that did not even fit.

       29.    Jayco eventually sent Plaintiffs the correct pedestal table about two weeks

later that Plaintiffs had to install themselves.

       30.    On or about June 12, 2018, Plaintiffs tendered the RV to Fretz, one of Jayco’s

authorized warranty service dealers, for repair of defective conditions including, but not

limited to a lack of hot water coming from the shower.


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       31.    Plaintiffs were unable to use the RV for four days while Fretz attempted to

repair the above issue under the written warranty issued by Jayco.

       32.    On or about July 28, 2018, Plaintiff tendered the RV to Fretz for repair of

defective conditions including, but not limited to:

              1) defective slide-outs, as evidenced by operating difficulties and damage to
              the RV when being extended;
              3) buckling floor in front of the refrigerator area;
              4) soft spots in the floor of the living room area;
              5) shower door not staying shut during travel;
              6) left turn signal camera not working;
              7) refrigerator not cooling;
              8) no sound coming from backup camera;
              9) upholstery tear in the back of the sofa and left arm rest;
              10) loose molding strips at the top entrance step; and
              11) Any other complaints actually made, independent of whether they appear
              on Jayco’s authorized repair facility invoice.

       33.    On or about August 10, 2018, Fretz’s service manager, Bob Bodkin,

informed Plaintiffs that the soft spots in the floors were the result of extensive water leaks

from the slides that had also caused damage to the interior walls.

       34.    Mr. Bodkin advised Plaintiffs that he would send the information concerning

the repairs to Jayco but that the repairs could take two months.

       35.    On or about August 31, 2018, Fretz’s service writer, Jamie Custer, informed

Plaintiffs that Fretz was still waiting for Jayco to authorize the repairs but because its repair

facility was not equipped to handle the extensive repairs to the RV’s floor and walls, Fretz

would likely have to send the RV to Jayco’s factory for repair.




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       36.       On or about September 5, 2018, Plaintiffs contacted Mr. Bodkin for a status

update and were informed that Fretz was still waiting to hear back from Jayco.

       37.       When Plaintiffs expressed their frustration with the slow response time from

Jayco, Mr. Bodkin advised that they contact Jayco directly to try and speed up the process.

       38.       Between September 6, 2018 and September 11, 2018, Plaintiffs spoke with

Jayco’s representative “Matt” on several occasions about the status of the repair

authorization.

       39.       During one conversation, Matt disclosed to Plaintiffs that shortly after

Plaintiffs purchased the RV, Fretz had submitted a warranty claim for a leak on the roof

which was authorized and repaired during the first two weeks that Fretz had possession of

the RV.

       40.       Plaintiffs advised Matt that Fretz had not disclosed the warranty roof repairs

to them and that this was the first time Plaintiffs were hearing about such repairs.

       41.       On or about September 20, 2018, almost two months after Plaintiffs had

tendered the RV to Fretz for repair, Jayco finally authorized Fretz to ship the RV to Jayco’s

factory for repair.

       42.       However, Ms. Custer informed Plaintiffs that May 2019 was the earliest

Jayco could take the RV in for repairs at the factory.

       43.       Plaintiffs have been unable to use the RV since July 28, 2018.




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       44.    The RV still has material defects and non-conformities as of the date of this

complaint.

       45.    Plaintiffs provided Jayco, through its authorized repair network and itself, a

reasonable opportunity to repair the defects, non-conformities and conditions within the

RV and its components.

       46.    Despite being given a reasonable amount of time to cure the RV’s defects,

non-conformities and conditions, Jayco failed to do so.

       47.    Jayco’s warranty therefore failed of its essential purpose.

       48.    Jayco’s failure to correct said defects violates its statutory and common law

duties to Plaintiffs and the expectations created in its promotional documents and written

warranty documents.

       49.    Plaintiffs provided Lippert, through its authorized repair network, a

reasonable opportunity to repair the defects, non-conformities and conditions of the RV’s

slideout system.

       50.    Despite being given a reasonable amount of time to cure the RV’s slideout

system defects, non-conformities and conditions, Lippert failed to do so.

       51.    Lippert’s warranty therefore failed of its essential purpose.

       52.    As a result, the RV’s slideout system cannot be utilized as intended by

Plaintiffs at the time of purchase and the use and value of the RV has been diminished

and/or substantially impaired to Plaintiffs.


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       53.    Plaintiffs relied on representations regarding the length and duration of

Jayco’s warranty when deciding to purchase the RV, as well as statements and/or

representations of general policy concerning customer satisfaction when deciding to

purchase the RV.

       54.    Plaintiffs have been and will continue to be financially damaged due to

Defendants’ conduct or inaction as described herein.

       55.    Upon information and belief, both the slideouts and/or the system (the

“Components”) themselves are defective, Jayco’s integration of the Components is

defective, or both the Components and Jayco’s integration are defective.

       56.    In other words, Lippert may have breached its written and implied warranties

through the faulty manufacture of the Components, Jayco may have breached its written

and implied warranties through faulty integration of the Components, or Lippert and Jayco

are both to blame and are in breach of their written and implied warranties.

       57.    However, if the defect solely remains with the Components themselves,

Jayco may bear no liability because its written warranty may only cover substantial defects

in materials, components, or parts of the RV Jayco says are attributable to it, and allegedly

does not replace, modify, or apply to the warranties provided by the manufacturers that

supply the products used to assemble the RV, i.e. the Components.

       58.    Therefore, Jayco has a motivation to illustrate during Plaintiff’s instant

lawsuit why Lippert’s faulty manufacture of the Components are to blame.


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       59.     Similarly, if the defect solely remains with Jayco’s fault integration of the

Components, Lippert may bear no liability because its written warranties may only cover

its Components.

       60.     Therefore, Lippert has a motivation to illustrate during Plaintiff’s instant

lawsuit why Jayco’s faulty integration of its Components is to blame.

       61.     However, it is often difficult for consumers—such as Plaintiff—to determine

the root cause(s) of a defect(s) in a recreational vehicle as there may be multiple causes

that are attributable to such defect(s).

       62.     This is because, upon information and belief, manufacturers—such as

Defendants—do not disclose the schematics of how their respective products are properly

integrated with the other, thus giving them the unfair advantage of easily determining the

root cause(s) of a defect(s) in a recreational vehicle.

       63.     Upon information and belief, manufacturers further enjoy an unfair

advantage in determining the root cause(s) of a defect(s) due to their exclusive access to

resources such as confidential documents, trade secrets, and industry association

agreements and private industry arbitrations wherein manufacturers—such as

Defendants—can surreptitiously determine and/or reapportion liability between

themselves and seek other compensation directly related to consumer disputes, such as

Plaintiff’s instant lawsuit.




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       64.    For example, upon information and belief, if this Court determines that

Defendants are at fault and apportion each liable for 50% of Plaintiffs’ damages, either

Defendant may invoke private and confidential industry arbitration if they disagree with

this Court’s allocation of damages.

       65.    Furthermore, upon information and belief, if either Defendant invokes

arbitration and the industry arbitrator finds one Defendant to actually be 70% liable for

Plaintiffs’ damages and the other Defendant only 30% liable, the Defendant found to be

30% liable will be reimbursed by the other Defendant for the 20% difference between the

Court’s allocation of liability and the industry arbitrator’s allocation of liability.

       66.    Upon information and belief, Defendants are able to avail themselves of this

private and confidential industry arbitration during the pendency Plaintiffs’ instant lawsuit.

       67.    Thus, the ability to determine and/or reapportion liability between

themselves and seek other compensation from each other in a private arbitration motivates

manufacturers—such as Defendants—to unfairly strategize and collude to a consumer’s

detriment.

       68.    Simply put, long term business partners—such as Defendants—that operate

in the tight-knit recreational vehicle industry have no motivation to publicly point fingers

at one another over the root cause(s) for a defect(s) in a consumer’s recreational vehicle,

and are better served strategizing and colluding with each other to defeat a consumer’s




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dispute as they are able to privately resolve their internal disputes at another time or even

simultaneously during the pendency of a consumer’s dispute.

       69.    Plaintiffs have met all obligations and preconditions as provided in

Defendants’ warranties and by statute(s).

       70.    As a direct and proximate result of Defendants’ failure to comply with their

statutory written warranties, statutory obligations, and common law duties, Plaintiffs have

suffered damages and under 15 U.S.C. § 2310(d), Plaintiffs are entitled to bring suit for

damages and other legal and equitable relief.

                         COUNT I
  BREACH OF WRITTEN WARRANTY PURSUANT TO MAGNUSON-MOSS
                      WARRANTY ACT
                          JAYCO

       71.    Plaintiffs repeat and re-allege each and every paragraph above.

       72.    Plaintiffs’ purchase of the RV was accompanied by the written warranty

offered by Jayco and extending to Plaintiffs.

       73.    The written warranty covered repairs or replacements during the warranty

period, the lesser of two years or 24,000 miles, due to defects in factory materials or

workmanship.

       74.    The written warranty is a “written warranty” as defined by 15 U.S.C. §

2301(6).

       75.    Jayco breached its written warranty by failing to seasonably cure the RV’s

defects and non-conformities after being given an opportunity to do so.

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       76.      Jayco’s actions herein constitute a breach of its written warranty.

       77.      Jayco’s actions herein constitute a violation of the MMWA.

       WHEREFORE, Plaintiffs pray for relief and judgment, as follows:

             a) Adjudging that Jayco breached its written warranty;

             b) Awarding the return of all monies paid toward the RV;

             c) Awarding diminution in value damages;

             d) Awarding incidental and consequential damages;

             e) Awarding Plaintiffs reasonable attorneys’ fees and costs incurred in this

                action;

             f) Awarding Plaintiffs any pre-judgment and post-judgment interest as may be

                allowed under the law;

             g) Awarding such other and further relief as the Court may deem just and

                proper.

                          COUNT II
   BREACH OF IMPLIED WARRANTY PURSUANT TO MAGNUSON-MOSS
                       WARRANTY ACT
                           JAYCO

       78.      Plaintiffs repeat and re-allege each factual allegation contained above.

       79.      Because Jayco issued Plaintiffs a written warranty as defined by 15 U.S.C. §

2301(6), Jayco was prohibited from disclaiming any implied warranties arising under state

law.




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       80.      When it supplied the RV to Plaintiffs, Jayco impliedly warranted that the RV

was fit for its intended use and ordinary use.

       81.      Because the RV had material defects and non-conformities, and was not fit

for its intended use, Jayco breached its implied warranty to Plaintiffs.

       82.      Jayco’s actions herein constitute a breach of its implied warranty.

       83.      Jayco’s actions herein constitute a violation of the MMWA.

       WHEREFORE, pursuant to 15 U.S.C. § 2310(d), Plaintiffs pray for relief and

judgment, as follows:

             a) Adjudging that Jayco breached its implied warranty;

             b) Awarding the return of all monies paid toward the RV;

             c) Awarding diminution in value damages;

             d) Awarding incidental and consequential damages;

             e) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this

                action;

             f) Awarding Plaintiff any pre-judgment and post-judgment interest as may be

                allowed under the law;

             g) Awarding such other and further relief as the Court may deem just and

                proper.




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                         COUNT III
    REVOCATION OF ACCEPTANCE PURSUANT TO MAGNUSON-MOSS
                       WARRANTY ACT
                          JAYCO

      84.      Plaintiffs repeat and re-allege each factual allegation contained above.

      85.      Jayco’s tender of the RV was substantially impaired to Plaintiffs due to the

RV’s defects and non-conformities.

      86.      Plaintiffs accepted the RV on the reasonable assumption that its

nonconformity would be cured and it has not been seasonably cured and/or without

discovery of such nonconformity wherein Plaintiffs’ acceptance was reasonably induced

either by the difficulty of discovery before acceptance or by the assurances any non-

conformities would be cured.

      87.      Plaintiffs’ revocation of acceptance occurred within a reasonable time after

discovering the grounds for revocation and before any substantial change in condition of

the RV which is not caused by its own defects.

      88.      Plaintiffs have notified Jayco of the revocation.

      WHEREFORE, pursuant to 15 U.S.C. § 2310(d), Plaintiffs pray for relief and

judgment, as follows:

            a) Allowing Plaintiffs to revoke acceptance of the RV;

            b) Awarding the return of all monies paid toward the RV;

            c) Awarding incidental and consequential damages;




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             d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this

                action;

             e) Awarding Plaintiff any pre-judgment and post-judgment interest as may be

                allowed under the law;

             f) Awarding such other and further relief as the Court may deem just and

                proper.

                        COUNT IV
  BREACH OF WRITTEN WARRANTY PURSUANT TO MAGNUSON-MOSS
                      WARRANTY ACT
                         LIPPERT

       89.      Plaintiffs repeat and re-allege each and every paragraph above.

       90.      Plaintiffs’ purchase of the RV was accompanied by the written warranty

offered by Lippert and extending to Plaintiffs.

       91.      Lippert provided a written warranty that was in effect at all relevant times,

for its slideout system due to defects in factory materials or workmanship.

       92.      The written warranty is a “written warranty” as defined by 15 U.S.C. §

2301(6).

       93.      Lippert breached its written warranty by failing to seasonably cure the RV’s

slideout system defects and non-conformities after being given an opportunity to do so.

       94.      Lippert’s actions herein constitute a breach of its written warranty.

       95.      Lippert’s actions herein constitute a violation of the MMWA.

       WHEREFORE, Plaintiffs pray for relief and judgment, as follows:

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             a) Adjudging that Lippert breached its written warranty;

             b) Awarding the return of all monies paid toward the RV;

             c) Awarding diminution in value damages;

             d) Awarding incidental and consequential damages;

             e) Awarding Plaintiffs reasonable attorneys’ fees and costs incurred in this

                action;

             f) Awarding Plaintiffs any pre-judgment and post-judgment interest as may be

                allowed under the law;

             g) Awarding such other and further relief as the Court may deem just and

                proper.

                          COUNT V
   BREACH OF IMPLIED WARRANTY PURSUANT TO MAGNUSON-MOSS
                       WARRANTY ACT
                          LIPPERT

       96.      Plaintiffs repeat and re-allege each factual allegation contained above.

       97.      Because Lippert issued Plaintiffs a written warranty as defined by 15 U.S.C.

§ 2301(6), Lippert was prohibited from disclaiming any implied warranties arising under

state law.

       98.      When it supplied the RV slideout system to Plaintiffs, Lippert impliedly

warranted that the slideout system was fit for its intended use and ordinary use.

       99.      Because the RV’s slideout system had material defects and non-conformities,

and was not fit for its intended use, Lippert breached its implied warranty to Plaintiffs.

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       100.   Lippert's actions herein constitute a breach of its implied warranty.

       101.   Lippert's actions herein constitute a violation of the MMWA.

       WHEREFORE, pursuant to 15 U.S.C. § 2310(d), Plaintiffs pray for relief and

judgment, as follows:

          a) Adjudging that Lippert breached its implied warranty;

          b) Awarding the return of all monies paid toward the RV;

          c) Awarding diminution in value damages;

          d) Awarding incidental and consequential damages;

          e) Awarding Plaintiff reasonable attorneys' fees and costs incurred in this

              action;

          f) Awarding Plaintiff any pre-judgment and post-judgment interest as may be

              allowed under the law;

          g) Awarding such other and further relief as the Court may deem just and

              proper.

                                    TRIAL BY JURY

       102.   Plaintiff is entitled to and hereby de

Dated: April 15, 2019.

                                           Sl("aron S. Masters
                                           Pennsylvania Bar No. 50360
                                           2201 Pennsylvania Ave.
                                           Pennsylvania, PA 19103
                                           Telephone: (610) 332-5277
                                           Facsimile: (866) 317-2674

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                           shmasters@hotmail.com
                           Counsel for Plaintiff

                 Co-counsel with Thompson Consumer Law Group, PLLC

                           Correspondence address:
                           5235 E. Southern Ave. D106-618
                           Mesa, AZ 85206




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